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                            UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS, WESTERN DIVISION

 IN RE:                                                   Case No.: 19-80184 et al.

          Paul Knigge                                     Chapter: 13

             AND ATTACHED LIST OF CASES                   Judge Thomas M. Lynch




                                AGREED SUBSTITUTION OF ATTORNEY



PLEASE BE ADVISED THAT PURSUANT TO LOCAL RULE 2091-1 AND BY AGREEMENT OF
PARTIES, Gloria C Tsotsos formerly with Codilis & Associates, P.C., hereby agrees that ATTORNEY
Peter C. Bastianen, Codilis & Associates, P.C. hereby substitutes in and appears as counsel for various
Creditors in the above case and the attached list of cases. Gloria C Tsotsos formerly of Codilis &
Associates, P.C. withdraws their appearance from the case and the parties agree as follows:


COUNSEL APPEARANCE WITHDRAWN:                            COUNSEL SUBSTITUTING AND APPEARING:
Gloria C Tsotsos                                         Peter C. Bastianen
formerly Codilis & Associates, P.C.                      Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100                    15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527                                     Burr Ridge, IL 60527


 **THIS IS A SUBSTITUTION AND APPEARANCE OF COUNSEL AND WITHDRAWAL OF
   APPEARANCE OF COUNSEL ON THE ABOVE CAPTIONED CASE AND THE LIST OF
                             ATTACHED CASES.**

                                           AGREED TO BY BOTH PARTIES:

/s/ Gloria C Tsotsos                                     /s/ Peter C. Bastianen

                                                         RESPECTFULLY SUBMITTED,

                                                         /s/ Peter C. Bastianen

May 26, 2021

NOTE: This law firm is a debt collector.
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Attached List of Cases:


   BK Case #       Debtor(s)
   13-41746        Cesar L. Rojo
   15-82998        Patrick L. Penkava and Laura P Penkava
   16-04111        Jeri Eileen Smith
   16-09162        Debra A. Nason
   16-10229        Sharon K Hrycyk
   16-80781        Eliseo Camarena and Clementina Camarena
   16-22091        Young K Lee and Barbara A Sian
   16-81848        Shawn L. Ortgiesen and Angela L. Ortgiesen
   16-29085        Barbara Jean Hill
   16-82996        Nicholas Krypciak
   17-04894        Nancy Mcbride and Michael McBride
   17-80436        Richard Wiorek
   17-08352        Stephen Hicks and Colleen Hicks
   17-80714        William T. Burks and Cora B. Burks
   17-16557        Eugene Wilkins, Jr. and Yvette O Wilkins
   17-81738        Walter Joseph Balke and Tammy Laura Balke
   17-23583        Juanita W. Collins
   17-32952        Jose Gerardo Valladares
   17-36273        Thomas W McCormick
   18-11151        Stanley Hayden and Delisa A Hayden
   18-81100        Joseph J Kipper
   18-16960        Vanessa Wiley
   18-81900        Anthony R Perez and Cari A Perez
   18-30744        Jamie Johnathan Jett
   19-80184        Paul Knigge
